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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 GEORGE ANIBOWEI,                                  §
                                                   §
                                      Plaintiff,   §
                                                   §
 v.                                                §    Civil Action No. 3:16-CV-3495-D
                                                   §
 JAMES B COMEY et al.,                             §
                                                   §
                                   Defendants.     §


                                    TRIAL SETTING ORDER


                                  TRIAL SETTING: July 8, 2019
        PLEASE READ THIS ORDER BEFORE CONTACTING THE COURT FOR
        ADDITIONAL INFORMATION. IF YOU STILL HAVE QUESTIONS, YOU MAY
        CONTACT THE COURT USING THE HELP DESK OPTION DESCRIBED IN ¶ 19, OR
        BY CALLING (214) 753-2333. DO NOT CALL THE LAW CLERKS.
                                        Application of Rules
 1.     The parties must comply with the Federal Rules of Civil Procedure (hereafter cited by
        “Rule” number) and the local civil rules of this court (hereafter cited by “LR” number). If
        the court, by order entered in this case, has modified the application of a Federal Rule of
        Civil Procedure or a local civil rule, the court’s order governs.
                         Requirement of Delivery of Paper Judge’s Copies
                                      of Electronic Filings


2.      If a party is making electronic filings in this case, the party must, no later than the date a
        filing is due, deliver to the clerk’s office the paper judge’s copy of any filing that is the
        subject of this trial setting order. For example, under ¶ 8 of this order, exhibit and witness
        lists must be filed no later than 14 days before the date of the trial setting. If a party files
        the exhibit and witness lists electronically, paper judge’s copies of the exhibit and witness
        lists must be delivered to the clerk’s office no later than 14 days before the date of the trial
        setting.
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                                           Trial Setting
3.     This case is set for trial on the date indicated above, for a two-week docket. When the term
       “trial setting” is used in this order, it means that date. The court will assume that counsel
       and their clients are available to commence trial at any time during the two-week period
       unless the court has otherwise given prior approval. If the case is not reached for trial
       during this period, the trial date will be reset.
4.     Counsel with out-of-town witnesses or other scheduling concerns that require more than
       the usual advance notice should advise the court by letter. When possible, the court will
       attempt to accommodate reasonable scheduling conflicts of counsel and their clients.
                                       Pretrial Conference
5.     A pretrial conference will usually be conducted, telephonically or in person, no later than
       the week that precedes the date that trial is expected to begin. If the court anticipates
       imposing time limits on the presentation of evidence that significantly reduce the parties’
       estimated trial length, the court will conduct a pretrial conference sufficiently in advance
       of trial so that counsel will have reasonable notice of such limits. See ¶ 7.
                                    Motions for Continuance
6.     LR 40.1 provides: “A motion for continuance of a trial setting must be signed by the
       moving party as well as by the party’s attorney of record. Unless the presiding judge orders
       otherwise, the granting of a motion for continuance will not extend or revive any deadline
       that has already expired in a case.”
                            Limitations on Presentation of Evidence
7.     Section VII of the court’s Civil Justice Expense and Delay Reduction Plan, Misc. Order
       No. 46, permits the presiding judge to “limit the length of trial, the number of witnesses
       each party may present for its case, the number of exhibits each party may have admitted
       into evidence, and the amount of time each party may have to examine witnesses.” Rule
       16(c)(2)(O) permits the court to “establish[] a reasonable limit on the time allowed to
       present evidence[.]” Accordingly, before the trial commences, the court will impose time
       limits on the presentation of evidence, and it may set other limits permitted by the Plan or
       by law. Unless leave of court is obtained, the court will also limit the examination of each
       witness to direct examination, cross-examination, one redirect examination, and one
       recross-examination. The court also follows the scope of cross-examination rule of Fed.
       R. Evid. 611(b).




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                              Trial Materials and Pretrial Disclosures
8.      The deadlines for complying with LR 26.2(a) and (c) (exchanging exhibits and designating
        deposition excerpts), LR 26.2(b) (lists of exhibits and witnesses), and LR 52.1 (proposed
        findings and conclusions in nonjury cases) are 14 days before the date of the trial setting.
        Requested instructions and questions in jury cases must be filed no later than 14 days before
        the date of the trial setting. When practicable, each party must furnish copies of its trial
        exhibits to the court. Unless the court advises the parties otherwise, however, they must
        not deliver trial exhibits, or the court’s copies of such exhibits, to the court or to the court
        reporter before the date the trial actually commences.
9.      The court construes LR 26.2(a) and (b) to require the exchanging and listing of any exhibit
        (except impeachment documents) that a party intends to offer in evidence or to use in the
        presence of the court or jury as a demonstrative aid, regardless whether the party intends
        to move its admission in evidence. The court construes narrowly the impeachment
        exceptions of Rule 26(a)(3) and LR 26.2(a) and (b).
10.     Witness lists and exhibit lists must be prepared as separate documents. Exhibit lists must
        contain a brief description (e.g., July 1, 2009 contract) of each exhibit, and must separately
        list each exhibit by the number that will be used at trial. Do not use letter suffixes to
        identify exhibits (e.g., designate them as 1, 2, 3, not as 1A, 1B, 1C). Witness lists must
        separately list each witness and must separately identify expert witnesses. Consistent with
        the requirements of Rule 26(a)(3)(A)(i), witness lists must designate witnesses whom the
        party expects to present and those whom the party may call if the need arises. Witness lists
        and exhibit lists may not be amended after the applicable deadline except by agreement of
        all affected parties or with leave of court.
11.     The parties must submit proposed voir dire questions, if any, at least 14 days before the
        date of the trial setting. The court will conduct the principal voir dire. Unless counsel are
        otherwise notified, the court will permit one attorney per side to ask follow-up questions
        (a time limit of ten minutes is usually imposed).
                             Rule 26(a)(3) Disclosures and Objections
12.     The court expects the parties to comply fully with the disclosure and objection
        requirements of Rule 26(a)(3). The required pretrial disclosures must be made at least 30
        days before the date of the trial setting. Any required objections must be served and filed,
        in the required form, no later than 14 days before the date of the trial setting. The parties’
        obligations to comply with the requirements of Rule 26(a)(3) are in addition to their
        obligations to comply with LR 26.2(a) and (b). For example, Rule 26(a)(3) disclosures
        must be filed in a document that is separate from the exhibit and witness lists required by
        LR 26.2(a) and (b).




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                                        Proposed Pretrial Order
13.     The proposed pretrial order required by LR 16.4 must be submitted no later than 14 days
        before the date of the trial setting. If submitted on paper, the parties must deliver the
        original and one copy of the proposed pretrial order (styled as the “Pretrial Order”) to the
        clerk’s office for forwarding to the court. Although it is to be delivered to the clerk’s office,
        it is not to be filed with the clerk at that time. The court will direct the clerk to file it after
        the court signs it. If the proposed pretrial order is submitted electronically, it must be
        transmitted to the electronic address used for receipt of proposed orders, and a paper
        judge’s copy must be delivered to the clerk’s office no later than 14 days before the date
        of the trial setting.


14.     The parties must jointly submit one proposed pretrial order, signed by at least one counsel
        of record for each party, or personally by any party proceeding pro se. If a party objects to
        a part of the proposed pretrial order that an opposing party has included, the objecting party
        may note its objection in the proposed pretrial order, but must otherwise participate in
        submitting a single, joint proposed pretrial order. The proposed pretrial order must contain
        each of the matters specified in LR 16.4.
                                           Motions in Limine
15.     Motions in limine must not be filed as a matter of course. If filed, counsel must file them
        with the court and serve them on the opposing party at least 14 days before the date of the
        trial setting. Responses must be filed with the court and served on the opposing party at
        least 7 days before the date of the trial setting. Replies to responses are not permitted
        except by leave of court.
16.     Motions in limine must be limited to matters that meet the following requirements: (1) the
        matter cannot adequately be raised by trial objection without prejudice to the moving party
        and (2) the prejudice of mentioning the matter in the presence of the jury cannot be cured
        by an instruction from the court. Motions in limine must include neither “standard”
        requests not tailored to a case-specific matter, nor issues presented in order to obtain
        substantive rulings that should have been requested in advance of trial by appropriate
        motion.
                                            Attorney’s Fees
17.     Unless the substantive law governing the action provides for the recovery of attorney’s fees
        as an element of damages to be proved at trial, the court will consider attorney’s fee claims
        on motion made after entry of judgment. See Rule 54(d)(2). The parties are not required
        to list witnesses or exhibits regarding an attorney’s fee claim unless the claim is to be
        proved at trial.




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                                          Trial Schedule
18.     The court’s normal working hours during trial are 9:00 a.m. to 5:00 p.m., Monday through
        Thursday. The court permits juries to deliberate on Fridays, but otherwise reserves that day
        for its weekly criminal docket.
19.     You may obtain answers to frequently asked questions, or submit questions to chambers
        staff regarding this trial setting order, using Judge Fitzwater’s Chambers Online Help Desk,
        found             at             the            following           Internet        address:
        http://cf.txnd.uscourts.gov/www2/forms/saf_email.cfm.
        SO ORDERED.

        August 16, 2018.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




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